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          January 9, 2020

          VIA ECF

          Hon. Dennis M. Cavanaugh
          Special Master
          McElroy, Deutsch, Mulvaney & Carpenter, LLP
          1300 Mount Kemble Avenue, P.O. Box 2075
          Morristown, New Jersey 07962

          Re: In re Valeant Pharmaceuticals International, Inc. Securities Litigation,
              Master File No. 15-cv-07658 (MAS) (LHG); In re Valeant Pharmaceuticals
              International, Inc. Third-Party Payor Litigation, No. 16-cv-03087 (MAS)
              (LHG)


          Dear Judge Cavanaugh:

          This firm represents Defendants Valeant Pharmaceuticals International, Inc.
          (“Valeant,” n/k/a Bausch Health Companies Inc.) and certain individuals in the
          above-captioned litigation. Dean McGee, a member of the bar of the State of New
          York was admitted pro hac vice, or has a motion for admission pending, in the
          following matters on the following dates:

                                    Matter                                              Date
          15-cv-07658 (In re Valeant Securities Litigation)                    May 17, 2017
          16-cv-03087 (In re Valeant Third-Party Payor Litigation)             June 8, 2018
          16-cv-05034 (T. Rowe Price)                                          September 22, 2017
          16-cv-06127 (Equity Trustees)                                        September 22, 2017
          16-cv-06128 (Principal Funds)                                        September 22, 2017
          16-cv-07212 (BloombergSen)                                           February 16, 2017
          16-cv-07324 (Discovery Global)                                       September 22, 2017
          16-cv-07328 (MSD Torchlight)                                         September 22, 2017
          16-cv-07494 (Incline Global)                                         September 22, 2017
          16-cv-07496 (VALIC Co. I)                                            September 22, 2017
          16-cv-07497 (Janus Aspen)                                            May 17, 2017
          17-cv-06365 (Lord Abbett)                                            February 5, 2018
          17-cv-06513 (Okumus)                                                 February 5, 2018
          17-cv-07552 (Pentwater)                                              January 29, 2018
          17-cv-07625 (Pub. Emps. Ret. Sys. of Miss.)                          February 5, 2018
          17-cv-07636 (Boeing)                                                 February 5, 2018
          17-cv-12088 (Första AP-Fonden)                                       April 11, 2018
          17-cv-12808 (St. Bd. Of Admin. Of Fla.)                              April 11, 2018
          17-cv-13488 (Regents of the Univ. of Cal.)                           April 11, 2018
          18-cv-00032 (New York City Emps. Ret. Sys.)                          April 11, 2018
          18-cv-00089 (GMO Trust)                                              April 11, 2018


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          18-cv-00383 (Colonial First)                                  April 11, 2018
          18-cv-00846 (Bharat Ahuja)                                    April 11, 2018
          18-cv-00893 (Brahman Capital)                                 April 11, 2018
          18-cv-02286 (Senzar Healthcare)                               May 2, 2018
          18-cv-08595 (2012 Dynasty UC)                                 June 8, 2018
          18-cv-08705 (Hound Partners)                                  June 20, 2018
          18-cv-12673 (Catalyst)                                        October 19, 2018
          18-cv-15286 (Northwestern)                                    February 1, 2019
          18-cv-17393 (Aly)                                             February 1, 2019


          Mr. McGee is no longer associated with Simpson Thacher & Bartlett LLP.
          Accordingly, pursuant to L. Civ. R. 101.1(c)(5), we respectfully request the Court’s
          approval of Mr. McGee’s withdrawal as pro hac vice counsel for Valeant, Robert
          Ingram, Anders Lönner, Robert L. Rosiello, Ari S. Kellen, Robert N. Power, Theo
          Melas-Kyriazi, Norma Provencio, Katharine B. Stevenson, Ronald H. Farmer, and
          Colleen A. Goggins. The other attorneys from McCarter & English LLP and
          Simpson Thacher & Bartlett LLP remain counsel of record and pro hac vice counsel
          for Valeant in the above-referenced matters.

          If this request meets with Your Honor’s approval, we respectfully request that Your
          Honor “so order” this letter, pursuant to L. Civ. R. 101(c)(5).

          Respectfully submitted,

          /s/ Richard Hernandez

          Richard Hernandez

          cc: All Counsel of Record (via ECF)



          IT IS SO ORDERED this _____ day of __________, 2020.



          _____________________________________________
          Honorable Dennis M. Cavanaugh, Special Master
